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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ANDRES GOMEZ,                                         Case No. 22-cv-00742-SK
                                   8                     Plaintiff,
                                                                                               ORDER OF CONDITIONAL
                                   9              v.                                           DISMISSAL
                                  10     JOHN ANTHONY VINEYARDS, LLC,
                                                                                               Regarding Docket No. 21
                                  11                     Defendant.

                                  12           Plaintiff advises the Court that the parties have reached a settlement of this case and that
Northern District of California
 United States District Court




                                  13   Plaintiff expects to file a dismissal with prejudice within sixty days. (Dkt. No. 21.) All parties

                                  14   have consented to the jurisdiction of a magistrate judge pursuant to 28 U.S.C. § 636. (Dkt Nos. 8,

                                  15   11.) Therefore, IT IS HEREBY ORDERED that this cause of action is dismissed without

                                  16   prejudice; provided, however that if any party hereto shall certify to this Court, within sixty days,

                                  17   with proof of service thereof, that the agreed consideration for said settlement has not been

                                  18   delivered over, the foregoing order shall stand vacated and this cause shall forthwith be restored to

                                  19   the calendar to be set for trial. If no certification is filed, after passage of sixty days, the dismissal

                                  20   shall be with prejudice.

                                  21           IT IS SO ORDERED.

                                  22   Dated: May 31, 2022

                                  23                                                      ______________________________________
                                                                                          SALLIE KIM
                                  24                                                      United States Magistrate Judge
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